             Case 23-54323-bem                     Doc 13          Filed 08/30/23 Entered 08/30/23 12:10:58                                          Desc Main
                                                                  Document      Page 1 of 12
Fill in this information to identify your case and this filing:

Debtor 1                    Natasha Pleshette Robinson
                            First Name                   Middle Name                       Last Name

Debtor 2
(Spouse, if filing)         First Name                   Middle Name                       Last Name


United States Bankruptcy Court for the:           NORTHERN DISTRICT OF GEORGIA

Case number           23-54323                                                                                                                             Check if this is an
                                                                                                                                                           amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                    12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.
        Yes. Where is the property?



Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1     Make:       Infiniti                               Who has an interest in the property? Check one                  Do not deduct secured claims or exemptions. Put
                                                                                                                             the amount of any secured claims on Schedule D:
          Model:      QX30                                      Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
          Year:       2017                                      Debtor 2 only                                                Current value of the      Current value of the
          Approximate mileage:               60,000             Debtor 1 and Debtor 2 only                                   entire property?          portion you own?
          Other information:                                    At least one of the debtors and another


                                                                Check if this is community property                                  $25,675.00                 $25,675.00
                                                                 (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
  .pages you have attached for Part 2. Write that number here.............................................................................=>                 $25,675.00


Part 3: Describe Your Personal and Household Items
Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                    portion you own?
                                                                                                                                                    Do not deduct secured
                                                                                                                                                    claims or exemptions.

Official Form 106A/B                                                     Schedule A/B: Property                                                                         page 1
         Case 23-54323-bem                   Doc 13        Filed 08/30/23 Entered 08/30/23 12:10:58                                 Desc Main
                                                          Document      Page 2 of 12
Debtor 1      Natasha Pleshette Robinson                                                            Case number (if known)     23-54323
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
      Yes. Describe.....

                               HHG                                                                                                               $2,500.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
      Yes. Describe.....

                               Electronics                                                                                                         $500.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
      No
      Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
      No
      Yes. Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
      No
      Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
      Yes. Describe.....

                               Clothing                                                                                                            $400.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
      Yes. Describe.....

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
      No
      Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
      No
      Yes. Give specific information.....


15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
    for Part 3. Write that number here ..............................................................................                        $3,400.00


Part 4: Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following?                                                        Current value of the
                                                                                                                                   portion you own?
Official Form 106A/B                                         Schedule A/B: Property                                                                   page 2
          Case 23-54323-bem                                     Doc 13              Filed 08/30/23 Entered 08/30/23 12:10:58                                  Desc Main
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Debtor 1        Natasha Pleshette Robinson                                                                                        Case number (if known)   23-54323
                                                                                                                                                             Do not deduct secured
                                                                                                                                                             claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
      Yes................................................................................................................

                                                                                                                                     Cash                                     $0.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:


                                            17.1.       Checking                                Bank of America                                                            $100.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
      No
      Yes..................                           Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
      No
      Yes. Give specific information about them...................
                                 Name of entity:                                                                                   % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
      No
      Yes. Give specific information about them
                                  Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
      No
      Yes. List each account separately.
                              Type of account:                                                  Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
      No
      Yes. .....................                                                                Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
      No
      Yes.............              Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
      No
      Yes.............              Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
      No
      Yes. Give specific information about them...


Official Form 106A/B                                                                     Schedule A/B: Property                                                               page 3
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Debtor 1      Natasha Pleshette Robinson                                                             Case number (if known)     23-54323
26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
      No
      Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
      No
      Yes. Give specific information about them...

Money or property owed to you?                                                                                                      Current value of the
                                                                                                                                    portion you own?
                                                                                                                                    Do not deduct secured
                                                                                                                                    claims or exemptions.

28. Tax refunds owed to you
      No
      Yes. Give specific information about them, including whether you already filed the returns and the tax years.......




                                                2021 Tax Refund                                            Federal                                $3,618.00


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
      No
      Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
      No
      Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
      No
      Yes. Name the insurance company of each policy and list its value.
                               Company name:                                                Beneficiary:                             Surrender or refund
                                                                                                                                     value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
      No
      Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
      No
      Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
      No
      Yes. Describe each claim.........

35. Any financial assets you did not already list
      No
      Yes. Give specific information..



Official Form 106A/B                                          Schedule A/B: Property                                                                    page 4
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Debtor 1         Natasha Pleshette Robinson                                                                                            Case number (if known)   23-54323

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
    for Part 4. Write that number here.....................................................................................................................                 $3,718.00


Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
      No. Go to Part 6.
      Yes. Go to line 38.



Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
          No. Go to Part 7.
          Yes. Go to line 47.


Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
       No
       Yes. Give specific information.........


54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                        $0.00

Part 8:         List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2 ......................................................................................................................                      $0.00
56. Part 2: Total vehicles, line 5                                                                           $25,675.00
57. Part 3: Total personal and household items, line 15                                                       $3,400.00
58. Part 4: Total financial assets, line 36                                                                   $3,718.00
59. Part 5: Total business-related property, line 45                                                              $0.00
60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
61. Part 7: Total other property not listed, line 54                                             +                $0.00

62. Total personal property. Add lines 56 through 61...                                                      $32,793.00              Copy personal property total            $32,793.00

63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                           $32,793.00




Official Form 106A/B                                                              Schedule A/B: Property                                                                           page 5
              Case 23-54323-bem                           Doc 13           Filed 08/30/23 Entered 08/30/23 12:10:58                                               Desc Main
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 Fill in this information to identify your case:

 Debtor 1                   Natasha Pleshette Robinson
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  NORTHERN DISTRICT OF GEORGIA

 Case number           23-54323
 (if known)
                                                                                                                                                                  Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $                      0.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $              32,793.00

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $              32,793.00

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $              31,305.00

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                      0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $              21,958.00


                                                                                                                                     Your total liabilities $                53,263.00


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $                3,483.00

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                3,479.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
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 Debtor 1      Natasha Pleshette Robinson                                                 Case number (if known) 23-54323

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                              $         4,098.83


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:
       9a. Domestic support obligations (Copy line 6a.)                                                   $                  0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $                  0.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                  0.00

       9d. Student loans. (Copy line 6f.)                                                                 $              6,732.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $                  0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                  0.00


       9g. Total. Add lines 9a through 9f.                                                           $                 6,732.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                    page 2 of 2
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   Fill in this information to identify your case:

   Debtor 1                    Natasha Pleshette Robinson
                               First Name            Middle Name              Last Name

   Debtor 2
   (Spouse if, filing)         First Name            Middle Name              Last Name


   United States Bankruptcy Court for the:      NORTHERN DISTRICT OF GEORGIA

   Case number              23-54323
   (if known)
                                                                                                                             Check if this is an
                                                                                                                                amended filing



  Official Form 106Dec
  Declaration About an Individual Debtor's Schedules                                                                                                12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                         Sign Below


          Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?


                 No

           Yes. Name of person                                                                           Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                          Declaration, and Signature (Official Form 119)


         Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
         that they are true and correct.

          X /s/ Natasha Pleshette Robinson                                    X
                Natasha Pleshette Robinson                                        Signature of Debtor 2
                Signature of Debtor 1

                Date       August 14, 2023                                        Date




  Official Form 106Dec                               Declaration About an Individual Debtor's Schedules




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 Signature Certificate
 Reference number: JCWUR-9OFRN-WAHXU-AAUKQ




  Signer                                    Timestamp                          Signature

  Natasha Robinson
  Email:

  Sent:                                    14 Aug 2023 18:43:25 UTC
  Viewed:                                  14 Aug 2023 20:16:05 UTC
  Signed:                                  14 Aug 2023 20:16:16 UTC

  Recipient Verification:                                                      IP address: 73.43.164.255
  ✔Email verified                          14 Aug 2023 20:16:05 UTC            Location: Decatur, United States




 Document completed by all parties on:
 14 Aug 2023 20:16:16 UTC


 Page 1 of 1




                    Signed with PandaDoc

                    PandaDoc is a document workflow and certified eSignature
                    solution trusted by 40,000+ companies worldwide.
         Case 23-54323-bem             Doc 13    Filed 08/30/23 Entered 08/30/23 12:10:58              Desc Main
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                                           United States Bankruptcy Court
                                                 Northern District of Georgia
 In re   Natasha Pleshette Robinson                                                    Case No.   23-54323
                                                             Debtor(s)                 Chapter    7



                                            CERTIFICATE OF SERVICE
I hereby certify that on August 30, 2023, a copy of Debtor's Amended Schedules was served electronically or by
regular United States mail to all interested parties, the Trustee and all creditors listed below.

Natasha Pleshette Robinson
PO Box 360671
Decatur, GA 30036
S. Gregory Hayes
Chapter 7 Trustee
Hays Financial Consulting, LLC
Suite 555
2964 Peachtree Road
Atlanta, GA 30305

All Creditors on the attached Matrix



                                                           /s/ Stanley J. Kakol, Jr.
                                                           Stanley J. Kakol, Jr. 406060
                                                           Law Offices of Stanley J. Kakol, Jr.
                                                           5353 Fairington Road, Suite C
                                                           Lithonia, GA 30038-1164
                                                           (770) 800-0440Fax:(770) 800-0494
                                                           stan@sjklawfirm.com
               Case 23-54323-bem               Doc 13   Filed 08/30/23           Entered 08/30/23 12:10:58      Desc Main
Label Matrix for local noticing                    (p)SELF INC
                                                      Document           Page 11 of 12            (p)ATLAS ACQUISITIONS LCC
113E-1                                             901 E 6TH STREET SUITE 400                     492C CEDAR LANE SUITE 442
Case 23-54323-bem                                  AUSTIN TX 78702-3206                           TEANECK NJ 07666-1713
Northern District of Georgia
Atlanta
Wed Aug 30 11:44:06 EDT 2023
Capital One                                        Capital One                                    Capital One Auto Finance
Attn: Bankruptcy                                   Po Box 31293                                   Attn: Bankruptcy
Po Box 30285                                       Salt Lake City, UT 84131-0293                  7933 Preston Rd
Salt Lake City, UT 84130-0285                                                                     Plano, TX 75024-2302


Capital One Auto Finance, a division of Capi       (p)CONTINENTAL FINANCE COMPANY                 Discover Financial
AIS Portfolio Services, LLC                        PO BOX 3220                                    Attn: Bankruptcy
4515 N Santa Fe Ave. Dept. APS                     BUFFALO NY 14240-3220                          Po Box 3025
Oklahoma City, OK 73118-7901                                                                      New Albany, OH 43054-3025


(p)FIRST NATIONAL BANK                             First Premier Bank                             First Premier Bank
ATTN BANKRUPTCY                                    3820 N Louise Ave                              Attn: Bankruptcy
1500 S HIGHLINE AVE                                Sioux Falls, SD 57107-0145                     Po Box 5524
SIOUX FALLS SD 57110-1003                                                                         Sioux Falls, SD 57117-5524


Genesis FS Card Services                           (p)GEORGIA DEPARTMENT OF REVENUE               S. Gregory Hays
Po Box 4499                                        COMPLIANCE DIVISION                            Hays Financial Consulting, LLC
Beaverton, OR 97076-4499                           ARCS BANKRUPTCY                                Suite 555
                                                   1800 CENTURY BLVD NE SUITE 9100                2964 Peachtree Road
                                                   ATLANTA GA 30345-3202                          Atlanta, GA 30305-4909

Internal Revenue Service                           Stanley J. Kakol Jr.                           Navient
P.O. Box 7346                                      The Law Offices of Stanley J. Kakol, Jr.       Attn: Bankruptcy
Philadelphia, PA 19101-7346                        5353 Fairington Road                           Po Box 9500
                                                   Suite C                                        Wilkes-Barr, PA 18773-9500
                                                   Lithonia, GA 30038-1164

Nordstrom FSB                                      Office of the United States Trustee            (p)PORTFOLIO RECOVERY ASSOCIATES LLC
Attn: Bankruptcy                                   362 Richard Russell Building                   PO BOX 41067
Po Box 6555                                        75 Ted Turner Drive, SW                        NORFOLK VA 23541-1067
Englewood, CO 80155-6555                           Atlanta, GA 30303-3315


Natasha Pleshette Robinson                         Sallie Mae, Inc                                Southern Automotive Finance
P.O. Box 36067                                     Attn: Bankruptcy                               Attn: Bankruptcy
Decatur, GA 30036                                  Po Box 9500                                    413 E Atlantic Blvd
                                                   Wilkes Barre, PA 18773-9500                    Pompano Beach, FL 33060-6257


Syncb/ebay                                         Synchrony Bank/Amazon                          Synchrony Bank/Gap
Attn: Bankruptcy                                   Attn: Bankruptcy                               Attn: Bankruptcy
Po Box 965060                                      Po Box 965060                                  Po Box 965060
Orlando, FL 32896-5060                             Orlando, FL 32896-5060                         Orlando, FL 32896-5060


United States Attorney
Northern District of Georgia
75 Ted Turner Drive SW, Suite 600
Atlanta GA 30303-3309
               Case 23-54323-bem             Doc 13      Filed 08/30/23 Entered 08/30/23 12:10:58                       Desc Main
                                                        Document     Page 12 of 12
                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Atlantic Capital Bank                                Atlas Acquisitions LLC                               (d)Atlas Acquisitions LLC
515 Congress Ave                                     492C Cedar Lane, Ste 442                             on behalf of UHG I LLC
Austin, TX 78701                                     Teaneck, NJ 07666                                    492C Cedar Lane, Ste 442
                                                                                                          Teaneck, NJ 07666


Continental Finance Co                               First Nataional Bank/Legacy                          Georgia Department of Revenue
Attn: Bankruptcy                                     500 East 60th St North                               Attn: Bankruptcy Department
4550 Linden Hill Rd, Ste 4                           Sioux Falls, SD 57104                                1800 Century Boulevard, NE
Wilmington, DE 19808                                                                                      Suite 9100
                                                                                                          Atlanta, GA 30345

Portfolio Recovery Associates, LLC                   (d)Selfinc/lead                                      End of Label Matrix
Attn: Bankruptcy                                     Attn: Bankruptcy                                     Mailable recipients   27
120 Corporate Boulevard                              1801 Main St                                         Bypassed recipients    0
Norfolk, VA 23502                                    Kansas City, MO 64108                                Total                 27
